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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                                         §
In re:                                   §      Case No. 00-CV-00005-DT
                                         §      (Settlement Facility Matters)
SETTLEMENT FACILITY                      §
DOW CORNING TRUST                        §      Hon. Denise Page Hood
                                         §

                    CLOSING ORDER 4
  REQUIRING COMPLETION OF COURT-DIRECTED AUDIT SURVEY
    AND RETURN OF FUNDS PURSUANT TO CLOSING ORDER 2
         WHEREAS on March 19, 2019 this Court issued Closing Order 2 directing

the Settlement Facility-Dow Corning Trust (“SF-DCT”) to “conduct audits of

claimant settlement payments to lawyers/law firms to determine whether the law

firm has distributed the payment(s) and whether the claimant or authorized

representative received the appropriate amount of funds” (Section D, Closing Order

2, ECF No. 1482, PageID.24091, March 19, 2019); and

         WHEREAS the express purpose of that provision of Closing Order 2 was to

facilitate the closure of the Settlement Facility, to ensure that all assets of the

Settlement Fund are accounted for properly, and to maximize the assets available for

eligible claimants; and

         WHEREAS that Order further provides that attorneys must return

undistributed funds; and




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       WHEREAS the SF-DCT has determined that distribution of the audit survey

form attached as Appendix A is the most efficient way to implement the audit and

return of funds required by Closing Order 2.

      Accordingly, the Court hereby finds and orders:

      1. You or your law firm must complete the enclosed audit survey and return

it to the SF-DCT by the deadline specified by the SF-DCT. Lawyers and law firms

located in the United States shall have 30 days from the date on the survey to submit

the audit survey response. Lawyers and law firms located outside the United States

shall have 60 days from the date on the survey to submit the audit survey response.

You must return this audit survey document even if all funds received from the SF-

DCT have been disbursed to and received by your clients.

      2. If you have cashed the claimant settlement check and have claimant

settlement funds that you have not distributed to the claimant and you will not be

able to distribute those funds to the claimant before the date that is 180 days after

the date on the original check (or if that 180-day period has already expired) then

you MUST return those funds to the SF-DCT at the same time that you return the

survey. If you did not cash the check, and the payment check is expired, then you

MUST return the check uncashed to the SF-DCT at the same time that you return

the survey. If you have not cashed the check and will not be able to distribute any

funds to the claimant before the check expires, you MUST return the check uncashed



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to the SF-DCT at the same time that you return the survey. (Settlement checks expire

180 days after the date of issuance).

      3. Failure to return this audit survey may result in sanctions. If you have

questions about the audit survey you may direct them to info@sfdct.com and include

“Audit Survey Question” in the subject line. You may also call the SF-DCT direct

at 866-874-6099. You may also contact the Claimants’ Advisory Committee at

info@tortcomm.org or Claimants’ Advisory Committee P.O. Box 665 St. Marys,

OH 45885.

      SO ORDERED.



                                        S/DENISE PAGE HOOD
                                        HON. DENISE PAGE HOOD
       April 1, 2022                    United States District Judge




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